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                             UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF PENNSYLVANIA



TONJA WITMER,                         ) Case No. 1:18-cv-77
                                      )
Plaintiff,                            )
                                      ) COMPLAINT
                                      )
                                      )
        vs.                           ) DEMAND FOR JURY TRIAL
                                      )
                                      )
                                      )
CAPITAL ONE BANK, N.A.,               )
                                      )
Defendant.                            )
                                      )
_____________________________________ )


                                       INTRODUCTION
       1.      TONJA WITMER (Plaintiff) brings this action to secure redress from CAPITAL
ONE BANK, N.A. (Defendant) for violations of the Telephone Consumer Protection Act [47
U.S.C. § 227] and the Pennsylvania Fair Credit Extension Uniformity Act, P.S. § 2270 et seq
(the “FCEUA”).
                                JURISDICTION AND VENUE
       2.      Jurisdiction in this Court is proper pursuant to 28 U.S.C. § 1331 as Plaintiff’s
claims arise under the laws of the United States.
       3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because the acts
and transactions alleged in this Complaint occurred here, Plaintiff resides here, and Defendant
transacts business here.
                                            PARTIES
       4.      Plaintiff is an individual, residing in York County, Pennsylvania.   Plaintiff is a
natural person from whom a debt collector seeks to collect a consumer debt which is due and
owing or alleged to be due and owing from such person.


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       5.      Defendant, is a corporation engaged in the business of collecting debt in this state
and in several other states, with a principal place of business in Virginia. One of the principal
purposes of Defendant is the collection of debts in this state and several other states, and
Defendant regularly attempts to collect debts alleged to be due.
                                  FACTUAL ALLEGATIONS
       Within one year prior to the filing of this action, Defendant contacted Plaintiff to collect
money, property or their equivalent, due or owing or alleged to be due or owing from a natural
person by reason of a consumer credit transaction and/or "consumer debt."
       6.      Defendant constantly and continuously called Plaintiff at her telephone number
ending in 4457. Defendant called Plaintiff upwards of two (2) to four (4) times in a single day
from telephone number 800-955-6600.
       7.      Defendant communicated with Plaintiff with such frequency as to be
unreasonable under the circumstances and to constitute harassment, including upwards of at least
four (4) telephone calls in one day.
       8.       Within one year prior to the filing of this action, Defendant communicated with
Plaintiff with such frequency as to be unreasonable under the circumstances and to constitute
harassment.
       9.      The natural and probable consequences of Defendant’s conduct was to harass,
oppress or abuse Plaintiff in connection with the collection of the alleged debt.
       10.     On or about August 30, 2017, Plaintiff answered one of Defendant’s calls and
advised an agent that Defendant was to cease placing any further calls to Plaintiff and her
cellular telephone. Despite these clear instructions, Defendant continued to place its autodialed
collection calls to Plaintiff’s cellular telephone into October of 2017.
       11.     Upon information and belief, Plaintiff alleges that Defendant placed over forty
five (45) autodialed collection calls to Plaintiff’s cellular telephone after Plaintiff had revoked
consent to receive such calls on her cellular telephone.
       12.     Defendant and/or its agent(s) used an “automatic telephone dialing system”, as
defined by 47 U.S.C. § 227(a)(1) to place these aforementioned collection calls to Plaintiff. The



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dead air that the Plaintiff experienced on the calls that she received (i.e., when Plaintiff answered
there was several seconds where no other person was on the other end) is indicative of the use of
an automatic telephone dialing system.
       13.     This “dead air” is commonplace with autodialing and/or predictive dialing
equipment. It indicates and evidences that the algorithm(s) being used by Defendant’s and/or its
agent’s autodialing equipment to predict when the live human agents are available for the next
call has not been perfected and/or has not been recently refreshed or updated. Thus resulting in
the autodialer placing a call several seconds prior to the human agent’s ability to end the current
call he or she is on and be ready to accept the new connected call that the autodialer placed,
without human intervention, to Plaintiff.
       14.     The dead air is essentially the autodialer holding the call it placed to Plaintiff until
the next available human agent is ready to accept it. Should the call at issue been manually
dialed by a live human being, there would be no such dead air as the person dialing Plaintiff’s
cellular telephone would have been on the other end of the call the entire time and Plaintiff
would have been immediately greeted by said person.
       15.     Defendant’s calls constituted calls that were not for emergency purposes as
defined by 47 U.S.C. § 227(b)(1)(A).
       16.     Defendant’s calls were placed to a telephone number assigned to a cellular
telephone service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. §
227(b)(1).
       17.     As of August 30, 2017, when Plaintiff first demanded that Defendant cease
placing its calls to his cellular telephone, any such consent for Defendant to place its autodialed
calls (assuming it existed in the first place), was revoked by Plaintiff.    Accordingly, Defendant
did not have Plaintiff’s “prior express consent” to receive calls using an automatic telephone
dialing system on her cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
       18.     As a result of Defendant’s alleged violations of law by placing these automated
calls to Plaintiff’s cellular telephone without prior express consent, Defendant caused Plaintiff




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harm and/or injury such that Article III standing is satisfied in at least the following, if not more,
ways:
               a. Invading Plaintiff’s privacy;
               b. Electronically intruding upon Plaintiff’s seclusion;
               c. Intrusion into Plaintiff’s use and enjoyment of his cellular telephone;
               d. Impermissibly occupying minutes, data, availability to answer another call, and
               various other intangible rights that Plaintiff has as to complete ownership and use
               of her cellular telephone;
               e. Causing Plaintiff to expend needless time in receiving, answering,
               and attempting to dispose of Defendant’s unwanted calls..
                                  FIRST CAUSE OF ACTION
                            (Violations of the TCPA, 47 U.S.C. § 227)
        19.    Plaintiff incorporates by reference all of the above paragraphs of this Complaint
as though fully stated herein.
        20.     Defendant violated the TCPA.         Defendant’s violations include, but are not
limited to the following:
               A.      Within four years prior to the filing of this action, on multiple occasions,
        Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which states in pertinent part, “It
        shall be unlawful for any person within the United States . . . to make any call (other than
        a call made for emergency purposes or made with the prior express consent of the called
        party) using any automatic telephone dialing system or an artificial or prerecorded voice
        — to any telephone number assigned to a . . . cellular telephone service . . . or any service
        for which the called party is charged for the call.
               B.      Within four years prior to the filing of this action, on multiple occasions,
        Defendant willfully and/or knowingly contacted Plaintiff at Plaintiff’s cellular telephone
        using an artificial prerecorded voice or an automatic telephone dialing system and as
        such, Defendant knowing and/or willfully violated the TCPA.




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       21. As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is entitled to an
          award of five hundred dollars ($500.00) in statutory damages, for each and every
          violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds that Defendant
          knowingly and/or willfully violated the TCPA, Plaintiff is entitled to an award of one
          thousand five hundred dollars ($1,500.00), for each and every violation pursuant to
          47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
       22. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the
          future.
                                 SECOND CAUSE OF ACTION
                         (Violations of the FCEUA, P.S. § 2270 et. seq.)
       23. Plaintiff repeats and re-alleges and incorporates by reference the foregoing
          paragraphs.
       24. Defendant violated the Pennsylvania Fair Credit Extension Uniformity Act , P.S. §
          2270 et seq (the “FCEUA”). Defendant's violations of the FCEUA include, but are
          not limited to, the following:
              c. Defendant violated 73 P.S. §§ 2270.4(b)(4)(5) by causing a telephone to ring
                    or engaging any person in telephone conversation repeatedly or continuously
                    with intent to annoy, abuse, or harass any person at the called number;
              d. Defendant's acts as described above were done intentionally with the purpose
                    of coercing Plaintiff to pay the alleged debt.

       25. As a result of the above violations of the FCUEUA, the Defendant is liable to the
          Plaintiffs for injunctive and declaratory relief and for actual damages, statutory
          damages, and reasonable attorney’s fees and costs.
                                     PRAYER FOR RELIEF
       WHEREFORE, Plaintiff respectfully requests that judgment be entered against
Defendant for the following:




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     (a)      An injunction prohibiting Defendant from contacting Plaintiff on Plaintiff’s
              cellular telephone using an automated dialing system pursuant to 47 U.S.C. §
              227(b)(3)(A); and
     (b)      As a result of Defendant’s violations of 47 U.S.C. § 227(b)(1), Plaintiff is entitled
              to and requests five hundred dollars ($500.00) in statutory damages, for each and
              every violation, pursuant to 47 U.S.C. § 227(b)(3)(B); and
     (c)      As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. §
              227(b)(1), Plaintiff is entitled to and requests treble damages, as provided by
              statute, up to one thousand five hundred dollars ($1,500.00), for each and every
              violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C); and
     (d)      Actual damages pursuant to 73 P.S. § 201-9.2; and
     (e)      Reasonable attorney’s fees and costs pursuant to 73 P.S. § 201-9.2; and
     (f)      Awarding Plaintiff any pre-judgment and post-judgment interest as may be
              allowed under the law; and
     (f)      For such other and further relief as the Court may deem just and proper.




                               DEMAND FOR JURY TRIAL
     Please take notice that Plaintiff demands a trial by jury in this action.


DATE: March 6, 2018                                 RESPECTFULLY SUBMITTED,


                                                    /s/ Michael Alan Siddons
                                                    Michael Alan Siddons, Esquire
                                                    230 N. Monroe Street
                                                    P.O. Box 403
                                                    Media, PA 19063
                                                    msiddons@siddonslaw.com
                                                    Tel (610) 255-7500
                                                    Fax: (610) 514-5904


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